                                                                                           FILED
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                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI                            NOV 12 2020
                                      EASTERN DIVISION                                U. S. DISTRICT COURT
                                                                                    EASTERN DISTRICT OF MO
                                                                                            ST.LOUIS       -
UNITED STATES OF AMERICA,                         )
                                                  )
            Plaintiff,                            )   ~~~~~~~~~~~~~-----

                                                  )
v.                                                )   4:20CR724 SRC/SRW
                                                  )
JAMES DONALD SCHROER,                             )
       a/k/a Donnie Schroer,                      )
                                                  )
            Defendant.                            )

                                          INDICTMENT

            THE GRAND JURY CHARGES:

                                 COUNTl
              FALSE REPRESENTATION OF SOCIAL SE£URITY NUMBER

       1.       The federal government created the Social Security Number program in 1936 to

track the earnings of United States workers, to determine a Social Security program applicant's

entitlement to benefits, and to compute the applicant's benefit levels.      Upon application, the

Social Security Administration issues a unique Social Security Number to the individual applicant.

       2.       Because the Social Security Number is assigned to nearly every legal resident of the

United States, the private sector, including banks, use it as its chief means of identifying and

gathering information about an individual.     By combining a person's Social Security Number,

name, and other personal information, businesses and banks within the private sector have been

able to determine a person's credit worthiness.

       3.        On or about September 28, 2019, within the Eastern District of Missouri and

elsewhere, the defendant,

                         JAMES DONALD SCHROER, a/k/a Donnie Schroer,

knowingly_and with intent to deceive, in an application for a JPMo~gan Chase credit card, number

XXXX XXX:X: XXXX 7761, falsely represented to that financial institution a Social Security
Number, XXX-XX-5490, to be his Social Security Number, well knowing that number was not

the true Social Security Number assigned to him by the Social Security Administration.

       All in violation of Title 42, United States Code, Section 408(a)(7)(B).

                                          COUNT2
                                        BANK FRAUD

FINANCIAL INSTITUTION

       4.    At all times relevant to this Indictment, JPMorgan Chase was a financial institution

insured by the federal government through the Federal Deposit Insurance Corporation.

THE SCHEME TO DEFRAUD

       5.      Beginning on or about September 28, 2019, and continuing through November 25,

2019, within the Eastern District of Missouri and elsewhere, the defendant,

                    JAMES DONALD SCHROER, a/k/a Donnie Schroer,

devised, executed, and attempted to execute a scheme and artifice to defraud and to obtain moneys,

funds, credits and assets owned by and under the custody and control of JPMorgan Chase, a

federally insured financial institution, by means of false and fraudulent pretenses and

representations.

       6.      The scheme and artifice to defraud was in substance as follows:

            a. It was part of the scheme and artifice to defraud that the defendant applied for a

       credit card arid accompanying line of credit from JPMorgan Chase using a Social Security

       Number other than the Social Security Number issued to him by the Social Security

       Administration.

            b. It was further part of the scheme and artifice to defraud that the defendant falsely

       used the name, date of birth, and residential address of another individual, without that



                                                2
        other individual's knowledge and authority, in applying to JPMorgan Chase in order to

        obtain a credit card and line of credit.

             c. It was further part of the scheme and artifice to defraud that once JPMorgan Chase

        issued the credit_card based upon defendant's false representations, defendant used that

        credit card and its associated number to pay for numerous personal expenses, including but

        not limited to monthly private storage facility charges, cellular telephone charges,

        residential utility charges, and charges at a number of retail stores ..

 The Financial Transaction

        7.       On or about September 28, 2019, in the Eastern District of Missouri and elsewhere,

the defendant,

                     JAMES DONALD SCHROER, a/k/a Donnie Schroer,

 executed and attempted to execute the scheme and artifice as set forth above, in that, JAMES

 DONALD SCHROER, a/k/a Donnie Schroer, made false representations and statements to

 JPMorgan Chase, a federally insured financial institution, in order to secure, and attempt to secure,

:- a credit card, number :XX:XX :XX:XX :XX:XX 77 61, and line of credit.

        All in violation of Title 18, United States Code, Section 1344.

                                                        A TRUE BILL.




                                                        FOREPERSON
 JEFFREY B. JENSEN
 United States Attorney




 HAL GOLDSMITH, #32984MO
 Assistant United States Attorney
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